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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF RHODE ISLAND


   U-NEST HOLDINGS,INC.,

                          Plaintiff,

   v.                                                  C.A. No. 1:19-CV-00659-WES-PAS

   ASCENSUS COLLEGE SAVINGS
   RECORDKEEPING SERVICES, LLC,

                          Defendant.


                    DEFENDANT'S OBJECTION TO PLAINTIFF'S
                EMERGENCY MOTION FOR PRELIMINARY INJUNCTION

         Defendant Ascensus College Savings Recordkeeping Services, LLC("Ascensus") hereby

  objects to Plaintiff U-Nest Holdings, Inc.'s("U-Nest") Emergency Motion for Preliminary

  Injunction alleging breach of a November 27, 2019 Settlement Agreement.

         The grounds for this objection are set forth in the accompanying memorandum of law,

  declaration, and exhibits.

                                                 Defendant ASCENSUS COLLEGE SAVINGS
                                                 RECORDKEEPING SERVICES, LLC

                                                 By its Attorneys,

                                                 /s/ David A. Wallin
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   Dated: December 31, 2019
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                                  CERTIFICATE OF SERVICE
         I hereby certify that on December 31, 2019, a copy of the foregoing was filed
 electronically and served by mail on anyone unable to accept electronic filing. Notice of this
 filing will be sent by e-mail to all parties by operation of the Court's electronic filing system or
 by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
 Filing.

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                                                       /s/ David A. Wallin




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